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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


    MIKHAIL FRIDMAN, PETR AVEN, and
    GERMAN KHAN,

                             Plaintiffs,

    v.                                                            Civil Action No. 17-2041-RJL

    BEAN LLC a/k/a FUSION GPS, and GLENN
    SIMPSON,

                             Defendants.


     REPLY IN SUPPORT OF MOTION BY AO ALFA-BANK, ABH HOLDINGS S.A.,
    LETTERONE HOLDINGS S.A., AND LETTERONE INVESTMENT HOLDINGS S.A.
     FOR LEAVE TO INTERVENE FOR THE LIMITED PURPOSE OF LITIGATING
     DEFENDANTS’ MOTION TO COMPEL PLAINTIFFS’ PRODUCTION OF THE
                        COMPANIES’ DOCUMENTS

            The Companies, by and through undersigned counsel, respectfully submit this Reply

Memorandum of Law in Support of their Motion for Leave to Intervene (ECF No. 80).1

                                            INTRODUCTION

            Under the facts of this case, the Companies are entitled to intervene as of right pursuant

to Rule 24(a)(2) for the limited purpose of litigating Defendants’ Motion to Compel, and in the

alternative, should be permitted to intervene under Rule 24(b). As explained in their Motion, the

Companies have legally protected interests in safeguarding what the Companies contend are

documents within their exclusive possession, custody, or control and relatedly, in protecting their

privileged, confidential, and sensitive documents. A Court order compelling the individual


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         References to the Companies’ Motion for Leave to Intervene (the “Companies’ Motion”) (ECF
         No. 80) are set forth as “Companies’ Br.”; references to Defendants’ Opposition to the
         Companies’ Motion (ECF No. 87) are set forth as “Defs.’ Opp.” Defined terms have the same
         meanings ascribed to them in the Companies’ Motion. Unless otherwise noted, internal
         quotation marks and citations are omitted, and emphases are added.
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plaintiffs to produce Company documents, as Defendants’ Motion seeks, will impair those

interests by disregarding that the Companies have exclusive possession, custody, and control

over their documents. If the Companies are not permitted to intervene at this stage, they will be

deprived of a chance to protect their own interests. Plaintiffs, who face the pressure of the

Motion to Compel and have an ultimate interest in litigating their defamation claim, may not

adequately represent the Companies’ interests, which are narrowly focused on preserving the

ownership and inappropriate disclosure of their documents and not aligned in every respect with

those of the Plaintiffs. Moreover, given their unique knowledge of facts that bear upon the legal

questions presented in Defendants’ Motion to Compel, considering the Companies’ position will

advance the purposes of Rule 24 intervention by enabling the Court to reach an efficient, just,

and comprehensive resolution.

       In response, Defendants insist upon an unduly formalistic and restrictive interpretation of

Rule 24, ignoring entirely that the rules governing intervention have been construed liberally and

are guided by pragmatic considerations. Defendants’ insistence that the Court deny the

Companies’ Motion at this stage, merely to rehear a subsequent motion to intervene from the

Company later on in the litigation, would waste judicial resources by requiring that the issue be

decided twice by this Court. Defendants’ interpretation of Rule 24 also ignores that compelling

Plaintiffs to produce the requested documents will impair the Companies’ legally protected

interests—which only the Companies are in a position to protect. And Defendants’ remarkable

request that the Court subject the Companies to full party discovery, particularly when

Defendants refused to engage with the Companies concerning their offer to make a reasonable

production, flies in the face of the purpose of granting limited intervention, namely, to resolve




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the issue before the Court efficiently and fairly. Respectfully, the Court should reject

Defendants’ arguments.2

                                           ARGUMENT

        As the Companies explained in their Motion, under the circumstances presented therein,

they are entitled to intervene under Rule 24(a)(2) for the limited purpose of participating in the

Motion to Compel briefing, and in the alternative, the Court should permit the Companies to

intervene under Rule 24(b).

I.      The Companies are Entitled to Intervene as a Matter of Right

        A.     The Companies’ Motion Satisfies the Requirements of Fed. R. Civ. P.
               24(a)(2)

        The Companies satisfy all four requirements of Rule 24(a)(2), thus entitling them to

intervene as of right for the limited purpose of participating in briefing on Defendants’ Motion to

Compel. (Companies’ Br. at 8–15.) In response, Defendants argue that the Companies lack

standing, and seek to evade Rule 24(a)(2)’s practical—and in this case, straightforward—

analysis. The crux of Defendants’ argument is that the Court should adopt a nonsensical and

overly restrictive interpretation of Rule 24(a)(2) that, among other things, would forbid proposed

intervenors from intervening until after their interests are impaired. This interpretation falls flat

in light of the plain language of the rule, the pragmatic nature of the intervention inquiry, and the

fact that intervention is intended to provide interested parties an opportunity to air their views so

that a court may reach a just resolution before making an adverse decision.




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     Defendants already are unnecessarily taxing this Court’s resources with their unfounded
     conspiracy allegations in particular, and with their Motion to Compel more generally, which
     could have been avoided had Defendants agreed to negotiate with the Companies regarding
     the Companies’ documents rather than running to the Court to file a premature motion.


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               1.      The Companies Need Not Establish Standing, But Even if They Did, They
                       Easily Satisfy Article III’s Standing Requirements

       As the Supreme Court recently recognized in Little Sisters of the Poor Saints Peter &

Paul Home v. Pennsylvania, Nos. 19-431, 19-454, 2020 WL 3808424 (U.S. July 8, 2020),

intervenors as of right need not demonstrate independent Article III standing when they seek the

same relief as a party with standing. See id. at *8 n.6 (“An intervenor of right must

independently demonstrate Article III standing if it pursues relief that is broader than or different

from the party invoking a court’s jurisdiction . . . . [T]he Federal Government clearly had

standing . . . and both the Federal Government and the Little Sisters asked the court to dissolve

the injunction against the religious exemption. The Third Circuit accordingly erred by inquiring

into the Little Sisters’ independent Article III standing.”). While their interests are not identical,

both the Companies and Plaintiffs seek a denial of Defendants’ Motion to Compel, and the

Companies do not seek any relief broader than what Plaintiffs seek. Defendants also do not

challenge Plaintiffs’ standing. Accordingly, under binding precedent, the Companies need not

demonstrate independent Article III standing.

       But even if the Companies were required to establish Article III standing, as the

Companies explained in their Motion (at 8 n.4), “generally speaking, when a putative intervenor

has a legally protected interest under Rule 24(a), it will also meet the constitutional standing

requirements.” (quoting Waterkeeper All., Inc. v. Wheeler, 330 F.R.D. 1, 6 (D.D.C. 2018)).

Defendants argue that the Companies lack standing because (i) the Companies’ injury is

speculative given that they may assert a privilege later on in the litigation once specific

documents have been identified (see Defs.’ Opp. at 12–14); (ii) the Companies will not be

injured by a holding that Plaintiffs control their documents (id. at 14–15); and (iii) the “Court’s




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determination as to Plaintiffs’ control of their documents will not address [the Companies’]

privilege and confidentiality concerns” (id. at 15). These arguments miss the mark.

       As explained in the Companies’ Motion (at 8 n.4, 11–13), and as set forth further below,

the Companies have established an injury-in-fact because they face an “imminent” harm to their

interest in the exclusive possession, custody, and control of their documents, and their interest in

protecting privileged, confidential, and sensitive documents. Lujan v. Defs. of Wildlife, 504 U.S.

555, 560 (1992). The Court has been presented with a Motion to Compel, which if granted

would cause the Companies harm in the form of a ruling that someone other than the Companies,

e.g., Plaintiffs, have possession, custody, or control of the Companies’ documents. The harm to

the Companies from such a ruling is neither “speculative” nor “conjectural” as Defendants assert

(at 12). Finally, the relief the Companies seek, i.e. a denial of the Motion to Compel, would

prevent these imminent harms because the exclusive possession, custody, or control of the

Companies’ documents no longer would be at risk. See 504 U.S. at 561 (“[I]t must be likely . . .

that the injury will be redressed by a favorable decision.”). Accordingly, even assuming the

Companies must establish Article III standing, they easily meet the requirements to do so.3

               2.      The Companies’ Motion is Timely

       The Companies’ Motion is timely in light of the circumstances of the case. (Companies’

Br. at 9–10.) The Companies’ limited intervention to participate in the Motion to Compel

briefing will neither disrupt the litigation nor disadvantage the parties, and the Companies filed




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    Defendants’ assertion that the Documents must be identified for the Companies to establish
    standing (see Defs.’ Opp. at 13) should be rejected. Indeed, Defendants themselves have
    prevented any particular documents from being identified because they have refused to confer
    with the Companies concerning their offer to search for and produce documents.


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their Motion soon after their interests diverged from Plaintiffs’. (Id.) Defendants’ arguments to

the contrary should be rejected.

       Defendants assert primarily that the Companies must wait until after the Court rules on

the Motion to Compel before the Companies can intervene to litigate the issue whether the

documents are in Plaintiffs possession, custody, or control. (Defs.’ Opp. at 8–9.) This is exactly

backward. If the Court grants the Motion to Compel, at that point, the Companies will have been

deprived of the opportunity to argue the threshold question whether the documents at issue are in

the Companies’ exclusive possession, custody, or control. Defendants’ Motion to Compel

implicates this very issue by asserting the Documents are in the Plaintiffs’ possession, custody,

or control. “It would indeed be a questionable rule that would require prospective intervenors to

wait on the sidelines until after a court has already decided enough issues contrary to their

interests,” when “[t]he very purpose of intervention is to allow interested parties to air their

views so that a court may consider them before making potentially adverse decisions.”

Brumfield v. Dodd, 749 F.3d 339, 344–45 (5th Cir. 2014). Defendants’ proposed rule not only is

void of logic, but ignores that “the inquiry required under Rule 24(a)(2) is a flexible one,” 6

James W. Moore et al, Moore’s Federal Practice [hereinafter “Moore’s Federal Practice”]

§ 24.03(1)(b), and that timeliness is “to be judged in consideration of all the circumstances,”

Roane v. Leonhart, 741 F.3d 147, 151 (D.C. Cir. 2014). Accordingly, Defendants’ overly

formalistic interpretation of the intervention standard should be rejected.

       Defendants also argue that the Companies did not file their Motion soon after the

Companies’ and Plaintiffs’ interests diverged because their interests are identical. However, as

explained further, infra Section I.A.5, and in the Companies’ Motion (e.g., at 10), the

Companies’ and Plaintiffs’ interests diverged when Defendants filed their Motion to Compel




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because the Companies’ interests include protecting the ownership, privilege, confidentiality,

and sensitivity of their documents, while Plaintiffs, who may be ordered to produce documents

that the Companies maintain are in their exclusive possession, custody, or control, have an

interest that lies more broadly in pursuing their defamation action. Moreover, the Companies

were only compelled to file their Motion once Defendants filed their premature Motion to

Compel after rebuffing the Companies’ repeated offers, through counsel, to work constructively

with Defendants to collect and produce responsive documents. (See, e.g., Companies’ Br. at 7–

8.) At that point, the Companies recognized their interests might diverge and could be impaired.4

       In a last ditch effort to argue that the Companies’ Motion is untimely, Defendants recycle

their unfounded and speculative assertion that the Companies and Plaintiffs are conspiring to

delay the litigation and prevent party discovery. (Defs.’ Opp. at 10–11.) As an initial matter, it

is troubling that Defendants are willing to submit such pejorative and unfounded allegations of

“conspiracy” to the Court, especially when based purely upon conjecture. Defendants appear

willing to engage in such mudslinging in a desperate effort to distract the Court from the task at

hand—analyzing the Companies’ Motion in a liberal, pragmatic manner so as to ensure that the

Court resolves the issues efficiently and fairly. Defendants’ suggestion that there is something

nefarious about the Companies not being plaintiffs to the defamation action—and that they

should be faulted for the same—is also based on pure speculation and should be cast aside. The

Companies, as non-parties, are not subject to party discovery and legitimately may invoke the

protections afforded to non-parties to a litigation. Defendants also fail to explain how the


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    For all the above reasons, Defendants’ attempt to distinguish Smoke v. Norton, 252 F.3d 468
    (D.C. Cir. 2001), United States v. Philip Morris USA Inc., No. Civ.A.99-2496(GK), 2003 WL
    25572283 (D.D.C. Dec. 5, 2003), and United States v. AT&T, 642 F.2d 1285 (D.C. Cir. 1980),
    on the ground that “they involve both a ruling adverse to the third party and a party that stopped
    defending the third party’s interests” (Defs.’ Opp. at 9) falls flat.


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Companies’ intervention would cause any delay, particularly when the Companies already have

submitted a proposed Opposition Brief (ECF No. 80-3), and have not sought to extend the

briefing schedule, much less sought “a protracted schedule to hear arguments,” (Defs.’ Opp. at

11). Moreover, to the extent Defendants have adjudged the Companies’ and Plaintiffs’

arguments to be “redundant,” (id.), Defendants fail to explain how this would prejudice them, as

they need only respond to so-called “redundant” arguments once.

               3.      The Companies Have a Legally Protected Interest

       The Companies have a legally protected interest in weighing in on a determination about

who has possession, custody, or control over—and therefore the authority to produce in

discovery—documents the Companies contend exclusively are in their possession, custody, or

control. Indeed, the D.C. Circuit has long recognized the fundamental proposition that an

intervenor who asserts ownership over, or a claim to, property at issue in a case sufficiently

demonstrates an interest under Rule 24(a). See, e.g., Foster v. Gueory, 655 F.2d 1319, 1324

(D.C. Cir. 1981) (“An intervenor’s interest is obvious when he asserts a claim to property that is

the subject matter of the suit.”); see also Bible Way Church of Our Lord Jesus Christ World

Wide, Inc. v. Showell, 260 F.R.D. 1, 4 (D.D.C. 2009) (granting motion to intervene because the

intervenor “allege[d] ownership to the trademark at issue in this case, and so it claim[ed] an

interest relating to the property which is the subject of this action”). As explained in the

Companies’ Motion, their interest in exclusive possession, custody, or control of the Documents

also enables the Companies to safeguard their interest in their privileged, confidential, or other

sensitive documents. (See, e.g., Companies’ Br. at 3 (“Defendants are seeking to compel

Plaintiffs to produce documents that are the property of the Companies. These documents

contain privileged, confidential, and sensitive commercial information that the Companies have a

right to protect.”); id. at 6 (“The Companies have a strong interest in maintaining their control


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over the Documents, including any possible production of privileged, confidential, or sensitive

commercial information.”); see also id. at 11–12.)

       Defendants do not contest that protecting privileged, confidential, and sensitive material

constitutes a protectable interest, nor do they seriously dispute that a company’s interest in the

possession, custody, and control over its documents is legally protectable. Instead, they rehash

their baseless, impractical, and over-formulaic contentions that the Motion is premature and that

the Companies are conspiring with Plaintiffs. (Defs.’ Opp. at 11–19.) These arguments are not

only meritless, but fail to overcome the conclusion that the Companies seek to safeguard legally

protectable interests through their Motion to Intervene. Given that “the interest test is primarily a

practical guide to disposing of lawsuits by involving as many apparently concerned persons as is

compatible with efficiency and due process,” Nuesse v. Camp, 385 F.2d 694, 700 (D.C. Cir.

1967), the Court should recognize the Companies’ legally protected interest in documents over

which they assert exclusive ownership.5

               4.      Defendants’ Motion Threatens to Impair the Companies’ Interests

       To compel Plaintiffs to produce Company documents would directly impair the

Companies’ interests by preventing the Companies from maintaining control over documents in

their exclusive control and would risk the disclosure of privileged, confidential, and sensitive

company documents. (Companies’ Br. at 12–13.) Defendants concede the point by stating that


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    Defendants also contend that the Companies must provide evidence supporting their privilege
    and work product claims. (Defs.’ Opp. at 17–19.) However, the Companies need not produce
    such evidence at the motion to intervene stage. See AT&T, 642 F.2d at 1292 (“In the present
    case . . . MCI has asserted a claim of privilege which is plausible on its face and must be
    accepted by us for purposes of determining the intervention issue.”). Nor could the Companies
    provide such information about specific documents, or “clearly define[ ]” (Defs.’ Opp. at 19)
    a set of privileged documents at issue at this juncture in light of Defendants’ repeated refusal
    to engage in the Companies’ good faith offer to negotiate and search for and produce
    documents (see Companies’ Br. at 3, 7, 14).


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granting their Motion to Compel would “extinguish . . . the exclusivity of” the Companies’

interest in the Documents. (Defs.’ Opp. at 20 n.10.)

        Yet Defendants also parrot their earlier claim that the Companies must wait until after the

Motion to Compel is decided to assert any interests in privileged or confidential material. (E.g.,

id. at 20.) As explained above, supra Section I.A.2, Defendants misunderstand that “the

practical impairment test is flexible, and its application depends on a pragmatic analysis of the

circumstances of a given case.” Moore’s Federal Practice § 24.03(3)(a); see Fed. R. Civ. P.

24(a)(2) (asking whether the intervenor “is so situated that disposing of the action may as a

practical matter impair or impede the movant’s ability to protect its interest”). If the Court were

to deny the Companies’ Motion and grant Defendants’ Motion to Compel, the “practical

consequence[ ]” would be that the Companies’ interest in the exclusive possession, custody, or

control of their documents, and the attendant interest in protecting the privilege, confidentiality,

and sensitivity of those documents, would be impaired. 100Reporters LLC v. U.S. Dep’t of

Justice, 307 F.R.D. 269, 278 (D.D.C. 2014); see Companies’ Br. at 6–7, 12–13; see also

Brumfield, 749 F.3d at 344–45 (Intervenors “do not need to establish that their interests will be

impaired. Rather, they must demonstrate only that the disposition of the action may impair or

impede their ability to protect their interests . . . . It would indeed be a questionable rule that

would require prospective intervenors to wait on the sidelines until after a court has already

decided enough issues contrary to their interests.” (footnote omitted)). The loss of exclusive

control over their documents, and the “public release” and disclosure of any privileged,

confidential, or sensitive material, would be “irreversible.” 100Reporters LLC, 307 F.R.D. at

279. (See Companies’ Br. at 4 n.1, 12 n.5.)




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               5.      No Party Adequately Represents the Companies’ Interests

       As explained in their Brief (at 13–15), the Companies need only show “that

representation of [their] interest[s] may be inadequate; and the burden of making that showing

should be treated as minimal.” Trbovich v. United Mine Workers of Am., 404 U.S. 528, 538

n.10. The Companies readily meet this standard. As international corporate entities and non-

parties seeking limited intervention only to participate in briefing on the Motion to Compel, the

Companies plainly have interests that are not identical to those of Plaintiffs, who are individuals

facing a Motion to Compel and whose ultimate objective is litigating their defamation claim.6

       Brumfield v. Dodd, 749 F.3d 339 (5th Cir. 2014), illustrates these points. In Brumfield,

the court noted that although a party to the litigation and the proposed intervenors “both . . .

vigorously oppose[d] dismantling the voucher program” at issue, “their interests may not align

precisely,” in part because the party had broader interests than the proposed intervenors. Id. at

345–46. Likewise, here, while Plaintiffs and the Companies both oppose Defendants’ Motion to

Compel, Plaintiffs have a broader interest in pursuing their defamation claim more generally,

whereas the Companies seek only to protect their company documents. One may not be able to

“say for sure that [Plaintiffs’] more extensive interests will in fact result in inadequate

representation, but surely they might, which is all that the rule requires.” Id. at 346; see also

100Reporters LLC, 307 F.R.C. at 281 (concluding, in FOIA case, that intervenor Siemens was

“in a unique position to articulate the need to withhold its own confidential materials”).

       The Court in Brumfield also observed that in a previous case, the Court “rejected th[e]

claim” that a party “adequately represented [the intervenors’] interest” on the ground that “the


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    Because the Companies and Plaintiffs do not have the same ultimate objective (see Defs.’ Opp.
    at 21–22), any supposed presumption that Plaintiffs adequately represent the Companies’
    interests does not apply. See Brumfield, 749 F.3d at 346.


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interests were essentially identical,” because the party faced compliance with an injunction, and

“in complying with the injunction . . . would be acting contrary to the interests of the

[intervenors].” Id. at 345. Similarly, here, any order requiring Plaintiffs to produce the

Documents at issue in the Motion to Compel would force Plaintiffs to act contrary to the

Companies’ interests. Accordingly, the Companies have shown that Plaintiffs may not represent

the Companies’ interests adequately.7

       B.      Intervention is Appropriate Because the Companies are the Proper Source of
               Several Key Arguments

       Defendants do not seriously dispute that the Companies are better positioned to make

arguments concerning the control of their documents, or to explain their own corporate

structures. (See Companies’ Br. at 15.) And even assuming arguendo that Plaintiffs could

“obtain guidance or a declaration from [the Companies],” (Defs.’ Opp. at 24), by incorporating


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    Defendants assert that Plaintiffs adequately represent the Companies’ interests because the
    Companies press the same legal arguments as Plaintiffs. (Defs.’ Opp. at 21–22.) However,
    the Companies offer information and arguments unique to their own interests. (E.g.,
    Companies’ Br. at 15–17.) And the cases upon which Defendants rely (at 21) are inapposite.
    In those cases, purely legal questions were presented. See Akiachak Native Cmty. v. U.S. Dep’t
    of Interior, 827 F.3d 100, 103, 108-09 (D.C. Cir. 2016) (issues involved whether regulation
    violated the Indian Reorganization Act, U.S. Constitution, and Administrative Procedure Act,
    and party and proposed intervenor both offered different statutory interpretations); Dimond v.
    District of Columbia, 792 F.2d 179, 181, 193 (D.C. Cir. 1986) (involving constitutional
    challenges to D.C. code provisions and explaining that proposed intervenors’ concerns
    involved questions of statutory interpretation); Bldg. & Construction Trades Dep’t, AFL-CIO
    v. Reich, 40 F.3d 1275, 1279 (D.C. Cir. 1994) (addressing questions of statutory and regulatory
    interpretation). In comparison, here, facts related to the Companies’ structures and internal
    policies, as analyzed in the declarations of Luxembourg and Russian counsel, bear upon the
    question whether the Documents are in Plaintiffs’ possession, custody, or control. And the
    Companies advance not only legal arguments unique to the Companies’ interests, but offer
    information that the Companies, rather than Plaintiffs, are properly positioned to present to the
    Court. (See Companies’ Br. at 15–17.) Moreover, the court’s statement in Akiachak that “Rule
    24(a) is designed to allow intervention on the ground that the intervening party seeks to make
    a legal argument not pursued by a named party,” 827 F.3d at 109, is dicta given the court
    already had held that it lacked jurisdiction to review the appeal, id. at 102.
                                                                                              (cont’d)


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various materials from the Companies’ proposed Opposition filings into their own Opposition,

Plaintiffs appropriately deferred to the Companies’ expertise and prerogative to represent their

own interests. Furthermore, the Companies’ Motion is not premised on a “quibble[ ] over

litigation tactics” as Defendants argue. (Id.) Instead, as explained above, supra Section I.A.3,

the Companies seek to represent their interests in control and ownership over their documents

and in protecting their privileged, confidential, and sensitive materials.8

        C.      Limited Intervention is Appropriate

        As Defendants’ recognize, the Companies seek to intervene only for the limited purpose of

litigating Defendants’ Motion to Compel. (See Defs.’ Opp. at 14.) In a final, desperate attempt to

undermine the pragmatic purposes served by limited intervention, Defendants ask that the Court

condition the Companies’ intervention on (i) subjecting the Companies to a panoply of discovery

rules applicable to parties (Defs.’ Opp. at 27–28 (requesting that the Court permit Defendants to

“seek discovery on Alfa as a party” by subjecting the Companies to discovery “under Rules 26,

30, 33, 34 and 36”)); (ii) “restrict[ing the Companies’] presentation to this Court to arguments not

advanced by Plaintiffs” (id. at 27); and (iii) “bar[ring the Companies] from injecting new claims

or collateral issues into the litigation” (id.).

        First, Defendants cite no authority supporting the notion that the Court should subject a

proposed intervenor to party discovery when the intervenor seeks only to participate in a limited

aspect of the litigation, such as a motion to compel in this case. Instead, they selectively quote


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    Jones v. Prince George’s County, Md., 348 F.3d 1014 (D.C. Cir. 2003) is inapposite. (See
    Defs.’ Opp. at 24.) In that case, the plaintiff “act[ed] as [the proposed intervenor]’s surrogate
    in [a] pending wrongful death action,” and the proposed intervenor claimed that the plaintiff
    “ha[d] made a series of strategic blunders that demonstrate[d] her inadequate representation.”
    348 F.3d at 1019. Here, Plaintiffs plainly are not acting as the Companies’ surrogates in this
    lawsuit. Nor do the Companies lodge any grievances with Plaintiffs’ litigation strategy.
    Instead, the Companies seek to intervene to safeguard their own legally protected interests.


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United States v. Philip Morris USA Inc., 566 F.3d 1095 (D.C. Cir. 2009) for the proposition that

intervenors “participate[ ] on equal footing with the original parties to a suit.” (Defs.’ Opp. at 27.)

What the court in that case stated in full was that “[i]n this circuit, because an intervenor

participates on equal footing with the original parties to a suit, a prospective intervenor must

satisfy Article III standing requirements.’” Philip Morris, 566 F.3d at 1146. Here, the Companies

are not seeking to participate in this case on equal footing as parties, but merely in connection with

a limited issue. As explained above, supra Section I.A.1, even if the Companies were required

independently to demonstrate Article III standing, they satisfy each of the standing requirements.9

       Second, the cases Defendants cite in support of their request that the Court limit the

Companies’ arguments are inapposite, because they involve numerous parties and potential

intervenors. See Brady Campaign to Prevent Gun Violence v. Salazar, 612 F. Supp. 2d 1, 6, 10-

11 (D.D.C. 2009) (noting four plaintiffs brought suit against “numerous other governmental

entities and officials,” with two movants seeking leave to intervene, and two others seeking leave

to participate as amicus curiae); Earthworks v. U.S. Dep’t of Interior, No. 09-01972 (HHK), 2010

WL 3063143, at *2 (D.D.C. Aug. 3, 2010) (adding six intervenors to the existing five plaintiffs

and four federal defendants). Here, however, the number of parties is limited, the Companies are

the only proposed intervenors, and the Companies have submitted one joint Opposition to the

Motion to Compel. The briefing on the Motion to Compel can be completed in a streamlined

fashion, given that the Companies already have filed their proposed brief. And as described supra



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    Furthermore, Defendants seem impermissibly to pick and choose when to treat the Companies
    as non-parties to this litigation. Defendants seek to treat the Companies as parties for purposes
    of arguing that Defendants should have unfettered access to company documents, but make an
    about face when asserting that because of the Companies’ non-party status, Defendants need
    not meet and confer with the Companies concerning document production. (See Companies’
    Br. at 14.) The Court should not sanction this manipulation of the discovery process.


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Sections at I.A.2 and I.A.3, the Companies’ participation in the Motion to Compel briefing would

expedite a just and efficient resolution due to their foreign law expertise and possession of

information regarding their own documents and corporate structure. (See also Companies’ Br. at

15–17.) Therefore, the restrictions proposed by Defendants are not only unnecessary, but would

limit the beneficial views the Companies are able to offer in this discovery dispute, thereby

subverting the purpose of limited intervention.10

         Finally, while Defendants ask the Court to bar the Companies from asserting claims or

other collateral issues, the Companies consistently have maintained they seek only to intervene for

the limited purpose of litigating the Motion to Compel. (See generally Companies’ Br.)11

II.      In the Alternative, the Court Should Permit the Companies to Intervene Under Rule
         24(b)

         Defendants do not contest that the Companies present “a question of law or fact in

common with the main action.” (See Defs.’ Opp. at 24–26.) Instead, Defendants contend that

the Court should not permit the Companies to intervene in the alternative because (i) the

Companies lack standing; (ii) there is no subject matter jurisdiction; and (iii) permitting the

Companies to intervene will cause undue delay and prejudice. (Id.) These arguments lack merit

for a number of reasons.




10
      Remarkably, on the one hand Defendants complain that the Companies’ limited intervention
      will cause undue delay and prejudice (see, e.g., Defs.’ Opp. at 3, 13–15), while on the other
      hand they request permission to engage in expansive discovery against the non-party
      Companies. Inappropriately dragging the Companies into the litigation as parties and further
      expanding the scope of discovery and any associated disputes would almost undoubtedly
      prolong the litigation and the discovery process.
11
      It is also striking that Defendants claim that the Companies’ Motion is premature, and in the
      same breath ask the Court to limit the potential claims and collateral issues the Companies may
      assert, even though the Companies have expressed no intention of doing so.


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        First, as acknowledged in several of the cases Defendants themselves rely upon, it is an

open question “whether standing is necessary for permissive intervention.” Nat’l Ass’n of Home

Builders v. U.S. Army Corps of Eng’rs, 519 F. Supp. 2d 89, 92 n.1 (D.D.C. 2007); see Envtl. Def.

v. Leavitt, 329 F. Supp. 2d 55, 66 (D.D.C. 2004); see also United States v. Facebook, Inc., No.

19-2184 (TJK), 2020 WL 1978802, at *1 n.2 (D.D.C. Apr. 23, 2020) (“The D.C. Circuit has not

determined whether a nonparty seeking to permissively intervene must possess an independent

basis for standing.”). And in any event, as explained above, supra Section I.A.1, were Article III

standing required, the Companies meet the applicable standard. 12

        Second, Defendants’ reliance on EEOC v. National Children’s Center, Inc., 146 F.3d

1042 (D.C. Cir. 1998), is misplaced. (See Defs.’ Opp. at 24–26.) Like the non-party intervenor

in that case, the Companies do not seek a ruling on the merits of a substantive cause of action.

See id. at 1046–47. Therefore, like the non-party intervenor in EEOC, the Companies need not

establish independent grounds for subject matter jurisdiction in order to intervene for the limited

purpose of litigating the Motion to Compel.

        Finally, Defendants’ argument that the Companies’ limited participation will create

“redundant briefing” and “unduly delay the adjudication of the discovery dispute at hand,” (see

Defs.’ Opp. at 26) is disingenuous at best. Defendants repeatedly have refused to engage with

the Companies in their offer to meet and confer in an effort to provide Defendants the documents

they claim they need. (See, e.g., Companies’ Br. at 2–3, 7; Ex. 29 to Defs.’ Mot. to Compel,

ECF No. 78-32; Ex. 30 to Defs.’ Mot. to Compel, ECF No. 78-33.) And if the Court permitted



12
     Defendants’ reliance on Deutsche Bank National Trust Co. v. FDIC, 717 F.3d 189 (D.C. Cir.
     2013), and Fund For Animals, Inc. v. Norton, 322 F.3d 728 (D.C. Cir. 2003), is also misplaced.
     (See Defs.’ Opp. at 5 n.12). These cases address the standard for intervention as a matter of
     right under Rule 24(a), not permissive intervention under Rule 24(b).


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the Companies to intervene only after the Court ruled on the Motion to Compel, as Defendants

insist, the Court would be denied the benefit of the Companies’ expertise regarding foreign law

and its own documents and corporate structure. Again, such a formalistic approach is

inconsistent with the spirit of the intervention standard. Moreover, this would only extend the

discovery dispute by requiring the Court to adjudicate issues piecemeal. Simply put,

Defendants’ claims of undue delay ring hollow when it is their own actions—rather than the

Companies’—that have caused and would continue to cause any delay.13




13
     Recognizing the court’s guidance in the context of permissive intervention that “[t]he proper
     approach . . . is to allow all interested parties to present their arguments in a single case at the
     same time,” 100Reporters LLC, 307 F.R.D. at 286, the Companies attached their proposed
     substantive Opposition to Defendants’ Motion to Compel along with their Motion to Intervene
     precisely to further the interests of judicial economy and avoid an extended briefing schedule
     (see Companies’ Br. at 5). Further, in circumstances such as these in which the intervenor
     does not seek to add new claims that would require additional discovery, this Court has
     recognized that “the risks of delay and prejudice are minimal.” Butte Cty. v. Hogen, No. 08-
     519(HHK)(AK), 2008 WL 2410407, at *3 (D.D.C. June 16, 2008).

                                                                                                 (cont’d)


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                                         CONCLUSION

        For the forgoing reasons, and all those set forth in the Companies’ Motion, the Court

should grant the Companies’ Motion for Leave to Intervene.14



 Dated: July 23, 2020                             Respectfully submitted,

                                                  /s/ Margaret E. Krawiec
                                                  Margaret E. Krawiec (DC Bar No. 490066)
                                                  Michael A. McIntosh (DC Bar No. 1012439)
                                                  SKADDEN, ARPS, SLATE, MEAGHER
                                                      & FLOM LLP
                                                  1440 New York Avenue, NW
                                                  Washington, DC 20005
                                                  T: (202) 371-7303
                                                  F: (202) 661-9123
                                                  margaret.krawiec@skadden.com
                                                  michael.mcintosh@skadden.com

                                                  Attorneys for LetterOne, Alfa Bank, and ABHH




14
     The Companies maintain that under the circumstances, they are entitled to intervention as of
     right and in the alternative, they should be afforded permissive intervention. However, if the
     Court disagrees, it would be appropriate for the Court to consider the Companies’ submissions
     as the views of amici curiae. See, e.g., Colo. River Cutthroat Trout v. Salazar, No. 09-2233
     (PLF), 2010 WL 11575619, at *3 (D.D.C. May 17, 2010) (permitting proposed intervenor to
     file as amici curiae); Nat’. Ass’n of Home Builders, 519 F. Supp. 2d at 93 (same).


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                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Motion for Leave to Amend the Complaint was filed

electronically with the Clerk of the Court on July 23, 2020, using the CM/EMF system, which will

send notification of such filing to all counsel of record.




                                                       /s/ Margaret E. Krawiec
                                                       Margaret E. Krawiec




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